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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT




 SHEILA COLELLA,

                        Plaintiff,

 v.                                                    CIVIL ACTION NO: 20-CV-00367-JAM

 NOVARTIS PHARMACEUTICALS
 CORPORATION,                                               JOINT RULE 26(F) REPORT

                        Defendant.




Date Complaint Filed: March 17, 2020

Date Complaint Served: March 20, 2020

Date of Defendant’s Appearance: April 10, 2020


Pursuant to Fed. R. Civ. P. 16(b), 26(f) and D. Conn. L. Civ. R. 16, a conference was held on
May 19, 2020. The participants were:

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Attorneys for Defendant Novartis Pharmaceuticals Corporation (“NPC”)

I.      Certification

        Undersigned counsel (after consultation with their clients) certifies that (a) they have

discussed the nature and basis of the parties’ claims and defenses and any possibilities for

achieving a prompt settlement or other resolution of the case; and (b) they have developed the

following proposed case management plan. Counsel further certify that they have forwarded a

copy of this report to their clients.

II.     Jurisdiction

        A.      Subject Matter Jurisdiction

        This Court has diversity subject matter jurisdiction under 28 U.S.C. § 1332, because

Plaintiff and NPC are citizens of different states, and the amount in controversy exceeds

$75,000.00. Specifically, Plaintiff is a citizen of the State of Connecticut, while NPC is a citizen

of the States of Delaware and New Jersey. Additionally, the damages Plaintiff alleges to have

sustained exceed $75,000.00.
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       B.      Personal Jurisdiction

       Personal jurisdiction is not contested.

III.   Brief Description of Case

       A.      Claims of Plaintiff:

       This is an action brought by Plaintiff, Sheila Colella, against NPC to recover for injuries

resulting from NPC’s failure to warn of significant risks associated with Tasigna – a Novartis-

manufactured prescription medication for treatment of chronic myeloid leukemia (“CML”).

Specifically, NPC failed to warn that Tasigna can cause severe, rapidly evolving, irreversible

vascular disease often involving more than one site. NPC failed to warn that the nature of vascular

disease caused by Tasigna could be so severe it could require repeat revascularization procedures,

that often fail, and ultimately result in serious complications such as limb necrosis and

amputations. Despite warning doctors and patients in Canada of the risks of atherosclerotic-related

conditions, NPC concealed, and continues to conceal, its knowledge of Tasigna’s unreasonably

dangerous risks from Plaintiff, other consumers, and the medical community.

       After beginning treatment with Tasigna and as a direct and proximate result of NPC’s

actions and inactions, Plaintiff suffered serious atherosclerotic-related injuries. Specifically, as a

result of her use of Tasigna, Plaintiff suffered severe atherosclerotic disease of her lower

extremities. This condition progressed rapidly, requiring multiple revascularization procedures.

Despite these attempts at revascularization, the nature of Plaintiff’s atherosclerotic disease was so

severe that her lower extremities were rendered unsalvageable and, as the disease progressed,

Plaintiff underwent multiple toe amputations, a right below the knee amputation, a left above the

knee amputation, and finally a right above the knee amputation. Sheila Colella was just 56 years
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old when she lost both of her legs. As a result of her injuries, Plaintiff seeks damages including

but not limited to the following:

               a.      General damages;

               b.      Medical and incidental expenses, including Plaintiff’s need for life long
                       care;

               c.      Losses related to Plaintiff’s inability to pursue her usual occupation and
                       activities;

               d.      Pain and suffering and emotional distress according to proof;

               e.      Punitive and exemplary damages;

               f.     Plaintiff’s reasonable attorneys’ fees and costs;

               g.      Prejudgment interest; and

               h.      Any other relief this Court deems appropriate.

       B.      Defenses and Claims (Affirmative Defenses, Counterclaims, Third Party
               Claims, Cross Claims) (either pled or anticipated) of Defendant:

       NPC generally denies all allegations in the Complaint and Jury Demand (‘the Complaint”)

of plaintiff. NPC’s product Tasigna® is a cancer medication that is FDA-approved to treat patients

with Philadelphia chromosome positive chronic myeloid leukemia (“CML”). CML is a blood

cancer, one in which, over time, the body overproduces white blood cells. Unchecked, the

overproduction eventually accelerates and crowds out the red blood cells necessary to transport

oxygen throughout the body. Without sufficient oxygen, the CML patient suffers organ damage

and dies. As of 2016, CML had a 69.2% five-year survival rate, up from 47.9% in 2000. The

significant increase in survival between 2000 and 2016 paralleled the increase in the availability

of tyrosine kinase inhibitor (“TKI”) medicines, including NPC’s Tasigna®. Tasigna® has been

shown to be superior to its predecessor TKI treatment, Gleevec®, in treating CML. NPC denies

that that there are any defects associated with Tasigna®.
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       Plaintiff will be unable to meet her burden to prove that Tasigna® can cause peripheral

arterial occlusive disease (“PAOD”) and that Tasigna® caused her alleged injuries. Moreover,

plaintiff will be unable to prove that the FDA-approved labeling for Tasigna® was inadequate. For

more than three years before plaintiff alleges she was prescribed Tasigna® (starting in April 2017),

Tasigna®’s package insert contained a dedicated Warnings & Precaution Section about the very

injury plaintiff alleges here – Cardiac and Vascular Events, including the PAOD. At the time

plaintiff alleges she started taking Tasigna®, the prescribing information stated:

               5.4 Cardiac and Arterial Vascular Occlusive Events

               Cardiovascular events, including arterial vascular occlusive events, were reported
               in a randomized, clinical trial in newly diagnosed CML patients and observed in
               the postmarketing reports of patients receiving nilotinib therapy. With a median
               time on therapy of 60 months in the clinical trial, cardiovascular events, including
               arterial vascular occlusive events, occurred in 9.3% and 15.2% of patients in the
               Tasigna 300 and 400 mg bid arms, respectively, and in 3.2% in the imatinib arm.
               These included cases of cardiovascular events including ischemic heart disease-
               related cardiac events (5.0% and 9.4% in the Tasigna 300 mg and 400 mg bid arms
               respectively, and 2.5% in the imatinib arm), peripheral arterial occlusive disease
               (3.6% and 2.9% in the Tasigna 300 mg and 400 mg bid arms respectively, and 0%
               in the imatinib arm), and ischemic cerebrovascular events (1.4% and 3.2% in the
               Tasigna 300 mg and 400 mg bid arms respectively, and 0.7% in the imatinib arm).
               If acute signs or symptoms of cardiovascular events occur, advise patients to seek
               immediate medical attention. The cardiovascular status of patients should be
               evaluated and cardiovascular risk factors should be monitored and actively
               managed during Tasigna therapy according to standard guidelines [see Dosage and
               Administration (2.2)].1

       NPC thus requests that judgment be entered in its favor and against plaintiff; that plaintiff’s

Complaint be dismissed, with prejudice; and that NPC be awarded costs of suit and reasonable

attorney’s fees as allowed by law and such further and additional relief as this Court may deem

just and proper.




1
 Feb. 21, 2017 Approved Tasigna Label,
https://www.accessdata.fda.gov/drugsatfda_docs/label/2017/022068s024lbl.pdf.
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       NPC’s affirmative defenses and plaintiff’s failures of proof include, but are not limited to,

the following, and NPC reserves the right to amend them as the case progresses:

        a. The Complaint, in whole or part, fails to state a claim or cause of action against NPC

             upon which relief can be granted.

        b. Plaintiff’s claims are barred, in whole or in part, because the product at issue was

             designed, manufactured, marketed and labeled with proper warnings, information,

             cautions and instructions, in accordance with the state of the art and the state of

             scientific and technological knowledge.

        c.   Plaintiff’s claims are barred, in whole or in part, because the labels and information

             accompanying the products at issue were approved by the U.S. Food and Drug

             Administration or other appropriate regulatory agencies.

        d. Plaintiff’s claims are barred, in whole or in part, by applicable products liability

             statutes or other law providing absolute or limited immunity or a disputable

             presumption of immunity against liability for pharmaceutical products approved by

             the FDA.

        e. Plaintiff’s claims are barred, in whole or in part, because the products at issue were

             not defective or unreasonably dangerous in that they complied with, at all relevant

             times, all applicable government safety standards.

        f. Plaintiff’s claims are preempted, in whole or in part, by applicable federal law relating

             to the design, testing, producing, manufacturing, labeling, distributing, modeling,

             processing, and supply of Tasigna®.

        g. Tasigna® was fit and proper for its intended purposes and the social utility of the drugs

             outweighed any possible risk inherent in the use of the products.
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        h. Plaintiff’s claims for punitive damages are barred because plaintiff has failed to allege

            conduct warranting imposition of punitive damages under New Jersey law,

            Connecticut law and/or other applicable state laws.

        i. Punitive damages against NPC cannot be recovered based on alleged fraudulent

            representation to the FDA. See, e.g., Buckman Co. v. Plaintiffs’ Legal Comm., 531

            U.S. 341, 343 (2001); see also N.J.S.A. § 2A:58C-5(c); Garcia v. Wyeth-Ayerst Labs.,

            385 F.3d 961 (6th Cir. 2004); McDarby v. Merck & Co., 949 A.2d 223 (NJ Super. Ct.

            App. Div. 2008).

        j. Plaintiff’s common law claims are barred, in whole or part, by application of the

            Connecticut Products Liability Act, Conn. Gen. Stat. Ann. § 52-572n.

       C.      Defenses and Claims of Third-Party Defendant:

       Not Applicable.

IV.    Statement of Undisputed Facts

               Counsel certify that they have made a good faith attempt to determine whether there

are any material facts that are not in dispute. The following material facts are undisputed:

       1.      NPC is incorporated in Delaware, with its principal place of business in East

Hanover, New Jersey, and is thus a citizen of the States of Delaware and New Jersey.
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       2.      NPC researches, develops, produces, markets, and sells pharmaceuticals, including

Tasigna, throughout the United States.

       3.      Tasigna® is a prescription medication that is FDA-approved to treat patients with

Philadelphia chromosome positive chronic myeloid leukemia (“CML”). CML is a cancer which

starts in blood-forming stem cells of the bone marrow, where a genetic change occurs in the stem

cells that form, among other things, most types of white blood cells.

       4.      Tasigna® is considered a tyrosinekinase inhibitor (“TKI” medicine), which blocks

chemical messengers (enzymes) in the cancer cells called tyrosine kinases, thus inhibiting their

growth and division.

V.     Case Management Plan:

       A.      Initial Disclosures

       Initial disclosures will be served by July 10, 2020.

       B.      Scheduling Conference

               1.      The parties do not request to be excused from holding a pretrial conference

with the Court before entry of a scheduling order pursuant to Fed. R. Civ. P. 16(b).

               2.      The parties prefer that a scheduling conference, if held, be conducted in

person, but understand that given the current COVID-19 related restrictions, a telephonic

conference may be preferred.

       C.      Early Settlement Conference

               1.      The parties certify that they have considered the potential benefits of

attempting to settle the case before undertaking significant discovery or motion practice.

Settlement is unlikely at this time.

               2.      The parties do not request an early settlement conference.
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               3.     The parties prefer a settlement conference, when such a conference is held,

with a magistrate judge or a private ADR provider.

               4.     At this time, the parties do not request a referral for alternative dispute

resolution pursuant to D. Conn. L. Civ. R. 16.

       D.      Joinder of Parties, Amendment of Pleadings, and Motions Addressed to the
               Pleadings

       The parties have discussed any perceived defects in the pleadings and have reached the

following agreements for resolution of any issues related to the sufficiency of the pleadings.

               1.     Plaintiff should be allowed until September 24, 2020 to file motions to join

additional parties and until April 26, 2021 to file motions to amend the pleadings. Motions filed

after the foregoing dates will require, in addition to any other requirements under the applicable

rules, a showing of good cause for the delay.

               2.     Defendant should be allowed until October 8, 2020 to file motions to join

additional parties and until May 10, 2021 to file a response to any amended complaint. Motions

filed after the foregoing dates will require, in addition to any other requirements under the

applicable rules, a showing of good case for the delay. In the event that plaintiff makes an

amendment late in the discovery period, NPC requests that adequate time be added to the schedule

in order to allow for adequate and fulsome discovery on any additional parties or issues raised by

such an amendment.

       E.      Discovery

               1.     Recognizing that the precise contours of this case, including the amounts of

damages at issue, if any, may not be clear at this point in the case, in making the proposals below

concerning discovery, the parties have considered the scope of discovery permitted under Fed. R.
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Civ. P. 26(b)(1). At this time, the parties wish to apprise the Court of the following information

regarding the “needs of the case”:

       Plaintiff’s Position:

       Prior to the commencement of this action, claims alleging atherosclerotic-related injuries

caused by Tasigna were filed against NPC in the Eastern District of California (Kristi Lauris v.

Novartis AG et al., 1:16-cv-00393-LJO-SAB) and the Southern District of Florida (Dennis

McWilliams v. Novartis AG et al., 2:17-cv-14302-RLR). Counsel for Plaintiff here did not appear

in these actions. Both of these cases were resolved shortly before scheduled trial dates and after the

completion of fact and expert discovery and subsequent denial of NPC’s Summary Judgement

Motion.

        The parties are meeting and conferring as to the whether the discovery conducted in those

cases may be applicable to the matter at bar. Plaintiff’s counsel here does not have knowledge of

the extent of this prior discovery and therefore reserves all rights to conduct discovery on all matters

relevant to the claims and defenses herein. In order to facilitate this process, Plaintiff has requested

an initial, informal exchange of certain information, which Defendant has agreed to consider. This

information will further assist the parties in determining the scope of discovery that was completed

in the prior actions and the additional discovery needed here. There is undoubtedly additional

discovery that will be required to address the needs of this case.

        For example, Plaintiff is aware that the timeframe covered by the discovery conducted in

those two cases ended in approximately 2014. Plaintiff will seek additional discovery up to the

present. There are likely to be additional areas of discovery relevant to the particular claims and

defenses which are unique to this particular case which the parties intend to discuss.

        Finally, the Court should be aware there are approximately 30 cases involving similar claims
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currently pending in several Federal Districts across the United States, as well as in New Jersey

State Court. The parties are discussing coordination of discovery in these actions.

          Defendant’s Position (if different):

          As an initial matter, it is unclear at this stage the scope of the discovery that plaintiff may

seek from NPC. Plaintiff will likely seek to depose numerous current and former employees of

NPC and the production of millions of pages of NPC documents. Although plaintiff’s counsel will

have access to discovery taken in two prior cases involving Tasigna®, plaintiff has indicated an

intent to take additional discovery to cover an additional six years of information on top of the

discovery in the previous litigation. As the plaintiff notes above, NPC is a defendant in nearly three

dozen cases in federal courts and in New Jersey state court involving claims arising from treatment

with NPC’s product, Tasigna®. The parameters and scope of discovery of NPC in these matters

merits informal coordination in terms of protocols such as search terms and custodians. The parties

agreed to begin these discussions, but it will take time to confer and reach agreements about these

issues.

          Importantly, this case implicates an array of scientific, medical, and regulatory issues that

will be the subject of wide-ranging expert reports and testimony. NPC anticipates that the parties

will designate a dozen, or perhaps more expert witnesses (six per party, or more), which does not

include the numerous treating physicians who will need to be deposed. NPC expects that it will

seek evidentiary hearings on its Daubert motions that will challenge the admissibility of plaintiff’s

experts.

          Moreover, discovery in this case includes the need to obtain copies of medical records from

plaintiff’s healthcare providers. The records collection process takes time, and is iterative in nature.

As each set of records is received, they must be reviewed, and follow-up undertaken, to ensure
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that the provider has produced a complete set of records. Also, review of collected records

inevitably leads to the identification of additional healthcare providers or locations of treatment,

and new requests must be made to collect those. Although the parties work diligently to collect

records, often facilities take significant amounts of time to respond to requests. To date NPC has

no records from this plaintiff, so this process will require substantial work.

       COVID-19 enhances the challenge associated with records collection. The process will

likely require additional time because of the burden that the pandemic has put on healthcare

providers and the possibility that offices, due to social distancing considerations, will not have

extra staff available on-site to locate and copy needed records. The uncertainty created by the

COVID-19 pandemic poses additional problems to completing discovery and being trial ready in

a year. Although some stay at home orders are beginning to be lifted or relaxed, the likelihood is

that substantial restrictions on travel (including in New Jersey, where NPC is located) will continue

for months and that there will be 14-day quarantine requirements if individuals travel to certain

areas. Given the unprecedented situation and the logistical hurdles surrounding COVID-19, NPC

requests that the Court set a schedule that builds in additional time for the parties to work around

these issues.

                2.     The parties anticipate that discovery will be needed on the following

subjects: the elements necessary to prove Plaintiff’s claims; corporate document and deposition

discovery from NPC regarding Tasigna®; discovery from plaintiff related to her medical, work and

social history; third party discovery to obtain medical and other records relevant to the claims; and

expert discovery, including on general and specific medical causation.
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       At this time Plaintiff anticipates she will request discovery into Novartis’ conduct

surrounding the following areas as they relate to Tasigna along with any additional areas of

discovery that may be revealed as the case progresses:

           a.    Licensing;
           b.   Research & Development;
           c.   Patents;
           d.   Preclinical Development;
           e.   Clinical Development;
           f.   Medical Affairs;
           g.   Medical Coding;
           h.   Pharmacovigilance/Drug Safety;
           i.   Health Insurance Reimbursement;
           j.   Life Cycle Management;
           k.    Marketing;
           l.    Labeling;
           m.    Market Research;
           n.    Sales and Sales Training;
           o.    Key Opinion Leaders and/or Speakers’ Bureaus;
           p.    Budgeting; and
           q.   Regulatory or compliance functions, including those related to the FDA and other
                foreign regulatory bodies

       NPC disputes that all of the topics listed above by plaintiff are appropriate areas for

discovery, and will confer with plaintiff to appropriately tailor discovery to the needs of this case.

NPC will, among other things, request medical records and depositions of plaintiff’s healthcare

providers. Given the allegations concerning her complicated health status, there will be a large

number of providers relevant to both her cancer treatment and her treatments for her vascular

disease. NPC will also seek discovery to identify and depose additional witnesses and documents

relevant to plaintiff’s damages claims.
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                3.      All discovery, including depositions of expert witnesses pursuant to Fed. R.

Civ. P. 26(b)(4), will be commenced by May 26, 2020 and completed (not propounded) by August

26, 2021 (Plaintiff) / January 20, 2022 (NPC).2

                4.      Discovery will not be conducted in phases, except that expert discovery will

be completed following fact discovery.

                5.      If discovery will be conducted in phases, describe each phase and state the

date by which it will be completed. Plaintiff proposes that fact discovery be completed by April 1,

2021, and that expert discovery be completed by August 26, 2021. NPC proposes that fact

discovery be completed by August 3, 2021, and that expert discovery be completed by January 20,

2022.

                6.      As detailed above, the parties are actively meeting and conferring regarding

the discovery conducted in the two prior litigations. The number of depositions Plaintiff requests

in this case will likely depend on that prior discovery. However, at this time, Plaintiffs do not

anticipate requesting more than fifteen (15) depositions of fact witnesses. After the parties have met

and conferred regarding previous discovery and depositions and what additional discovery is

needed, Plaintiff will confer with NPC in an attempt to reach an agreement as to the number of

additional depositions required at this time. NPC does not agree at this time to extend the

presumptive limit of 10 depositions, except to agree that expert depositions should not count toward

the parties’ limits. Plaintiffs also anticipate that depositions of NPC’s fact witnesses can be

coordinated with those cases pending in other Federal Courts and the State of New Jersey, so as to

avoid duplicative efforts. In the event that NPC determines, after having had the opportunity to



2
  Where the parties have not reached an agreement regarding a proposed deadline, the parties’
respective proposals are indicated.
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collect and review medical records, that more than 10 fact depositions are necessary, it will confer

with plaintiff to in an attempt to reach an agreement.

                7.      The parties do not anticipate requesting permission to serve more than 25

interrogatories.

                8.      Plaintiff intends to call expert witnesses at trial. Defendant intends to call

expert witnesses at trial.

                9.      Parties will designate all trial experts and provide opposing counsel with

reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) on any issues on which they bear

the burden of proof by May 15, 2021 (Plaintiff proposal) / October 4, 2021 (NPC proposal).

Depositions of any such experts will be completed by June 26, 2021 (Plaintiff proposal) /

December 20, 2021 (NPC proposal).

                10.     Parties will designate all trial experts and provide opposing counsel with

reports from retained experts pursuant to Fed. R. Civ. P. 26(a)(2) on any issues on which they do

not bear the burden of proof by July 26, 2021 (Plaintiff proposal) / January 20, 2022 (NPC

proposal). Depositions of such experts will be completed by August 26, 2021 (Plaintiff proposal)

/ February 25, 2022 (NPC proposal).

                11.     Undersigned counsel (after consultation with their respective clients

concerning computer-based and other electronic information management systems, including

historical, archival, back-up and legacy files, in order to understand how information is stored and

how it may be retrieved) and self-represented parties have discussed the disclosure and preservation

of electronically stored information, including, but not limited to, the form in which such data shall

be produced, search terms and/or other techniques to be used in connection with the retrieval and

production of such information, the location and format of electronically stored information,
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appropriate steps to preserve electronically stored information, and the allocation of costs of

assembling and producing such information. The parties have preliminarily discussed entering into

an ESI Protocol and are hopeful an agreement will be reached. The parties intend to submit a

proposed ESI Protocol or, in the alternative, briefing of any issues that cannot be agreed upon by

July 10, 2020.

                 12.   Undersigned counsel (after consultation with their clients) and self-

represented parties have also discussed the location(s), volume, organization, and costs of retrieval

of information stored in paper or other non-electronic forms. The parties have preliminarily

discussed entering into an ESI Protocol that will also address non-electronically stored information

and are hopeful an agreement will be reached. The parties intend to submit a proposed ESI Protocol

or in the alternative briefing of any issues that cannot be agreed upon by July 10, 2020.

                 13.   Undersigned counsel and self-represented parties have discussed discovery

procedures that minimize the risk of waiver of privilege or work-product protection, including

procedures for asserting privilege claims after production. The parties have preliminarily discussed

a Protective Order to address these issues. At this time, Plaintiff has not yet agreed to the entry of

a protective order in this case and may object to entry of such order. Defendant NPC requests that

the Court enter a Rule 502(d) order in order to facilitate discovery in this matter. Plaintiff is

reviewing the proposed order and will advise NPC if Plaintiff will consent to entry or object to the

same. The parties intend to submit a proposed Protective Order or in the alternative briefing of any

issues that cannot be agreed upon by July 10, 2020.

       F.        Other Scheduling Issues

        NPC anticipates requesting that the Court conduct an evidentiary hearing related to the

expected Daubert issues in this case and requests that the schedule allow time for an evidentiary
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